Case 3:22-cv-00049-NKM-JCH Document 182 Filed 03/14/23 Page 1 of 4 Pageid#: 2271




                           UNITED STATES DISTRICT COURT
                       FOR THE WESTERN DISTRICT OF VIRGINIA
                            CHARLOTTESVILLE DIVISION


      BABY DOE et al.,

                     Plaintiffs,
                                                                 Civil Action No. 3:22-cv-49
      v.

      MAST et al.,

                     Defendants.


      NOMINAL DEFENDANTS’ STATEMENT IN OPPOSITION TO DEFENDANT
        RICHARD MAST’S MOTION FOR ORDER DIRECTING CLERK TO
        REQUEST INFORMATION HELD BY A VIRGINIA CIRCUIT COURT

            In his Motion for Order Directing Clerk to Request Information Held by a Virginia

     Circuit Court (“RMast Mot.”) [ECF 174], defendant Richard Mast (“RMast”) asks this

     Court to do what he cannot—obtain certain documents from a state court. At the United

     States’ request, the documents at issue were placed under seal, and the parties were ordered

     to destroy their copies. While the United States does not object to providing the Court with

     the United States Government information contained in those documents for ex parte

     review, along with other relevant information, as deemed appropriate for purposes of this

     case, the United States notes that RMast was expressly barred by the Virginia Circuit Court

     from maintaining or using those documents.

            The reason the materials at issue were placed under seal in the Virginia Circuit

     Court’s case file, with other copies ordered destroyed, is that they contain United States

     Government information that respondents in the state court case (for whom RMast is

     counsel) submitted to that court without proper authorization. The Government identified
Case 3:22-cv-00049-NKM-JCH Document 182 Filed 03/14/23 Page 2 of 4 Pageid#: 2272




     a number of filings and other documents as containing highly sensitive or classified

     information and requested that the state court secure those documents in accord with

     federal law. On that basis, the state court properly ordered the parties to destroy their copies

     and acted to secure the copies that remain in its case file. 1

             Nominal defendants, the U.S. Secretary of State Antony Blinken and U.S. Secretary

     of Defense General Lloyd Austin (“Federal Defendants”), oppose any effort to effectively

     circumvent the state court’s decision, made at the request of the United States, that these

     documents remain inaccessible to the parties and their counsel in that case. 2

             First, RMast fails to identify a mechanism by which this Court could properly

     obtain copies of sealed documents directly from another court where those documents are

     inaccessible by any party in that case. RMast does not suggest that this Court should issue

     a subpoena to the state court for properly sealed records, nor would Rule 45 allow for a

     subpoena in these circumstances. See, e.g., Chen v. City of Medina, No. C11-2119-TSZ,

     2012 WL 4757947, at *1–3 (W.D. Wash. Oct. 5, 2012) (“federal courts have found that

     principles of comity require federal courts to quash subpoenas for records protected against

     disclosure by prior state court orders”); O’Neal v. Cap. One Auto Fin., Inc., No. 3:10-CV-

     40, 2011 WL 2649711, at *3 (N.D.W. Va. July 6, 2011) (quashing federal court subpoena




     1
       The court also allowed the parties to submit substitute filings omitting the United States
     Government information at issue. To the extent RMast seeks to submit such substitute
     filings in this proceeding consistent with any relevant orders of the state court, Federal
     Defendants have no objection to his doing so.
     2
       Federal Defendants are identified in the Amended Complaint as “nominal defendants,”
     and no claims are asserted against them. The United States nevertheless has an interest in
     monitoring the disclosure and use of certain categories of United States Government
     information. In light of the United States’ interests, Federal Defendants therefore submit
     this Statement pursuant to 28 U.S.C. § 517.
                                                    2
Case 3:22-cv-00049-NKM-JCH Document 182 Filed 03/14/23 Page 3 of 4 Pageid#: 2273




     that called for violation of a state court’s protective order). RMast acknowledges that his

     request is “rather unusual,” Mot. at 2, and justifies it only by the fact that the state court

     ordered the parties to destroy their copies of the documents. But the fact that RMast

     properly lacks access to the documents at issue is a reason to deny his request, not grant it.

            Second, the United States has not consented to the use of the sealed materials in

     this case. Pursuant to the President’s constitutional authority, the Executive Branch has

     “broad discretion” to protect classified information for which it is responsible, “and this

     must include broad discretion to determine who may have access to it.” Dep’t of the Navy

     v. Egan, 484 U.S. 518, 525 (1988). In civil proceedings, classified or other sensitive

     national security or law enforcement information cannot be disclosed or introduced into

     evidence over the objection of the United States. Here, the United States does not consent

     to the use or disclosure of such information in this case. RMast ostensibly seeks to

     circumvent the process by which the Government may protect such information from use

     or disclosure in this case. The Court should reject such an effort out of hand. 3

            Third, RMast has not established the relevance of the information he seeks to

     introduce. The Government’s understanding is that RMast seeks to rely on certain

     information in the sealed materials in part to denigrate a particular individual. But aside

     from having no authorization to use such materials, RMast’s characterization of the

     materials amounts to an ad hominem attack based on speculation that lacks any foundation



     3
       The Government does not suggest that this Court is unable to review the United States
     Government information at issue, ex parte, in camera, when submitted by the Government
     in appropriate circumstances, including in connection with a motion filed by Federal
     Defendants or to establish the need to protect such information or its lack of relevance. The
     Government’s objection here is to RMast’s demand that materials the Government
     protected in the state court proceeding be imported from the state court directly into this
     docket.
                                                   3
Case 3:22-cv-00049-NKM-JCH Document 182 Filed 03/14/23 Page 4 of 4 Pageid#: 2274




     in personal knowledge, information, or expertise. RMast’s assumption that the information

     has significance in regard to any individual related to this case is therefore just that—a

     speculative assumption, and one that neither RMast nor any other individual non-

     Governmental party in this case can support or refute. Certainly, as Federal Defendants

     previously pointed out, see ECF 177, at 8, RMast’s assertions have no conceivable bearing

     on Plaintiffs’ Motion for Protective Order [ECF 166], which is the Motion to which

     RMast’s opposition brief, “attaching” the state court filings in absentia, claimed to respond

     and to which RMast’s Motion relates, see ECF 171 at 2 n.2, RMast Mot. at 1 & n.1.

            For the foregoing reasons, RMast’s Motion for Order Directing Clerk to Request

     Information Held by a Virginia Circuit Court should be denied.

     March 14, 2023                                Respectfully submitted,

                                                   BRIAN M. BOYNTON
                                                   Principal Deputy Assistant Attorney General

                                                   ALEXANDER K. HAAS
                                                   Director, Federal Programs Branch

                                                   ANTHONY J. COPPOLINO
                                                   Deputy Director, Federal Programs Branch

                                                   /s/ Kathryn L. Wyer
                                                   KATHRYN L. WYER
                                                   Federal Programs Branch
                                                   U.S. Department of Justice, Civil Division
                                                   1100 L Street, N.W., Room 12014
                                                   Washington, DC 20005
                                                   Tel. (202) 616-8475
                                                   kathryn.wyer@usdoj.gov
                                                   Attorneys for Defendants




                                                  4
